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                        UNITED STATES DISTRICT COURT
                           DISTRICT OF MINNESOTA


CHRISTOPHER KOHLS and MARY                          Case No. 24-cv-3754 (LMP/DLM)
FRANSON,

                             Plaintiffs,

v.                                                     ORDER STAYING CASE

KEITH ELLISON, in his official capacity
as Attorney General of Minnesota, and
CHAD LARSON, in his official capacity
as County Attorney of Douglas County,

                             Defendants.


       Plaintiffs Christopher Kohls and Mary Franson (collectively, “Plaintiffs”) and

Defendants Keith Ellison, in his official capacity as Attorney General of Minnesota, and

Chad Larson, in his official capacity as County Attorney of Douglas County (collectively,

“Minnesota”) have stipulated to stay proceedings in this case pending resolution of

Plaintiffs’ appeal to the U.S. Court of Appeals for the Eighth Circuit. See ECF No. 58.

“[T]he power to stay proceedings is incidental to the power inherent in every court to

control the disposition of the causes on its docket with economy of time and effort for itself,

for counsel, and for litigants.” Cottrell v. Duke, 737 F.3d 1238, 1248 (8th Cir. 2013)

(citation omitted). Accordingly, based upon the parties’ stipulation, and all the files,

records, and proceedings herein, IT IS HEREBY ORDERED that:

       1.     All proceedings in this action are STAYED until further order of the Court.




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       2.     Within one week after the deadline to seek review of the decision of the U.S.

Court of Appeals for the Eighth Circuit by the Supreme Court, the parties shall advise this

Court in a joint letter whether any party has filed a petition for a writ of certiorari with the

Supreme Court. The parties should also advise the Court whether a continued stay of the

proceedings is warranted.

       3.     The pretrial conference scheduled for March 19, 2025, at 2:00 p.m. is

CANCELLED.


 Dated: March 12, 2025                          s/Laura M. Provinzino
                                                Laura M. Provinzino
                                                United States District Judge




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